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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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NIAGARA MOHAWK POWER CORPORATION,

                                 Plaintiff,

                    vs

CONSOLIDATED RAIL CORPORATION; THE
KING SERVICE, INC.; UNITED STATES STEEL
COMPANY; EDWIN D. KING; LAWRENCE
KING; RICHARD B. SLOTE; CHEVRON U.S.A.,                         5:98-CV-1039
INC.; PORTEC, INC.; and AMERICAN PREMIER
UNDERWRITERS, INC.;

                                 Defendants.

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CHEVRON, U.S.A., INC.,

                                 Third-party Plaintiff,
                    vs

THE COUNTY OF RENSSELAER; and THE COUNTY
OF RENSSELAER SEWER DISTRICT NO. 1,

                                 Third-party Defendants.

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                                   AMENDED CAPTION

APPEARANCES:                                       OF COUNSEL:

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DAVID N. HURD
United States District Judge




             IT IS SO ORDERED.




Dated: July 13, 2006
       Utica, New York.




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